Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 1 of 30




            EXHIBIT 1
   To Second Amended Complaint
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 2 of 30




                                                           Exhibit 1
                                                             Page 1
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 3 of 30




                                                           Exhibit 1
                                                             Page 2
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 4 of 30




                                                           Exhibit 1
                                                             Page 3
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 5 of 30




                                                           Exhibit 1
                                                             Page 4
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 6 of 30




                                                           Exhibit 1
                                                             Page 5
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 7 of 30




                                                           Exhibit 1
                                                             Page 6
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 8 of 30




                                                           Exhibit 1
                                                             Page 7
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 9 of 30




                                                           Exhibit 1
                                                             Page 8
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 10 of 30




                                                            Exhibit 1
                                                              Page 9
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 11 of 30




                                                            Exhibit 1
                                                             Page 10
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 12 of 30




                                                            Exhibit 1
                                                             Page 11
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 13 of 30




                                                            Exhibit 1
                                                             Page 12
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 14 of 30




                                                            Exhibit 1
                                                             Page 13
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 15 of 30




                                                            Exhibit 1
                                                             Page 14
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 16 of 30




                                                            Exhibit 1
                                                             Page 15
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 17 of 30




                                                            Exhibit 1
                                                             Page 16
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 18 of 30




                                                            Exhibit 1
                                                             Page 17
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 19 of 30




                                                            Exhibit 1
                                                             Page 18
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 20 of 30




                                                            Exhibit 1
                                                             Page 19
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 21 of 30




                                                            Exhibit 1
                                                             Page 20
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 22 of 30




                                                            Exhibit 1
                                                             Page 21
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 23 of 30




                                                            Exhibit 1
                                                             Page 22
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 24 of 30




                                                            Exhibit 1
                                                             Page 23
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 25 of 30




                                                            Exhibit 1
                                                             Page 24
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 26 of 30




                                                            Exhibit 1
                                                             Page 25
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 27 of 30




                                                            Exhibit 1
                                                             Page 26
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 28 of 30




                                                            Exhibit 1
                                                             Page 27
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 29 of 30




                                                            Exhibit 1
                                                             Page 28
Case 3:17-cv-06932-MMC Document 230-1 Filed 06/14/19 Page 30 of 30




                                                            Exhibit 1
                                                             Page 29
